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 1           On January 22, 2021, at the direction of Mr. Iqbal Ashraf, I served the following documents

 2    as Certified Mail the Request for a Return Receipt on the business and persons below as indicated
 3
      in the exhibits above:
 4
             Documents Served:
 5
             A. COMPLAINT AT LAW - COMPLAINT FOR REAL PROPERTY, MONETARY
 6

 7               RELIEF AND FOR EQUITABLE, ACTUAL, COMPENSATORY AND

 8               PUNITIVE DAMAGES; AND
 9
             B. SUMMONS IN A CIVIL ACTION.
10
             Defendants/Parties Served:
11
                       1.      RELIANCE MOTORS, LLC.: 958 E Holt Blvd., Ontario, CA 91761
12
                       2.      ASIF AZIZ: 958 E Holt Blvd., Ontario, CA 91761
13
                       3.      TRUCK BOYZ, INC.: 7215 Canby Ave. Reseda CA 91335
14                     4.      JEROME L. DODSON REVOCABLE TRUST OF 2012:
15                             338 Spear Street, #39-B, San Francisco, CA 91405
                       5.      JEROME L. DODSON: 338 Spear Street, #39-B, San Francisco, CA 91405
16
                       6.      SUPERIOR LOAN SERVICING: 7525 Topanga Canyon Blvd., Canoga
17
                               Park, CA 91303
18                     7.      ASSET DEFAULT MANAGEMENT, INC.:
19                             7525 Topanga Canyon Blvd., Canoga Park, CA 91303

20                     8.      JULIE TABERDO: 7525 Topanga Canyon Blvd., Canoga Park, CA 91303
                       9.      JASON L WEISBERG: 7525 Topanga Canyon Blvd., Canoga Park, CA 91303
21
                       10.     JUDGE JOHN W. HOLCOMB: George E. Brown, Jr. Federal Building and United
22
                               States Courthouse, 3470 12th St., Courtroom 2, Riverside, CA 92501
23                     11.     IRENE VAZQUEZ: George E. Brown, Jr. Federal Building and United States
24                             Courthouse, 3470 12th St., Courtroom 2, Riverside, CA 92501
                       12.     YVETTE LOUIS: George E. Brown, Jr. Federal Building and United States
25
                               Courthouse, 3470 12th St., Courtroom 2, Riverside, CA 92501
26

27
                     in the following manner of Service:
28

                                                        2
                                  PROOF OF SERVICE OF SUMMONS AND COMPLAINT
                                      WITH AFFIDAVIT IN SUPPORT THEREOF
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